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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    EXPRESS, INC., et al.,1                                          )    Case No. 24-10831 (KBO)
                                                                     )
                             Debtors.                                )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket No. 15

                    ORDER (I) EXTENDING TIME TO FILE
            SCHEDULES OF ASSETS AND LIABILITIES, SCHEDULES
           OF CURRENT INCOME AND EXPENDITURES, SCHEDULES
          OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES, AND
    STATEMENTS OF FINANCIAL AFFAIRS AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an Order (this “Order”) (a) authorizing the Debtors

to extend the time period to file the Schedules and Statements by nineteen days, for a total of forty-

seven days from the Petition Date to and including June 10, 20243, without prejudice to the

Debtors’ ability to request additional extensions for cause shown and (b) granting related relief,

all as more fully set forth in the Motion; and upon the First Day Declaration; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated



1
      The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
      numbers, are: Express, Inc. (8128), Express Topco LLC (8079); Express Holding, LLC (8454); Express Finance
      Corp. (7713); Express, LLC (0160); Express Fashion Investments, LLC (7622); Express Fashion Logistics, LLC
      (0481); Express Fashion Operations, LLC (3400); Express GC, LLC (6092); Express BNBS Fashion, LLC
      (3861); UW, LLC (8688); and Express Fashion Digital Services Costa Rica, S.R.L. (7382). The location of
      Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is One Express
      Drive, Columbus, Ohio 43230.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
3
      The date forty-seven days after April 22, 2024, is Saturday, June 8, 2024, but such date continues to June 10,
      2024, by operation of Bankruptcy Rule 9006.
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February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Motion is granted as set forth herein.

        2.       Pursuant to section 521 of the Bankruptcy Code and Bankruptcy Rules 1007(c) and

9006(b), the time by which the Debtors shall file the Schedules and Statements is extended by an

additional nineteen days beyond the twenty-eight-day extension provided for pursuant to Local

Rule 1007-l(b) to and including June 10, 2024.4 Such extension is without prejudice to the

Debtors’ right to request a further extension.

        3.       All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).




4
    The date forty-seven days after April 22, 2024, is Saturday, June 8, 2024, but such date continues to June 10,
    2024, by operation of Bankruptcy Rule 9006.


                                                        2
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       4.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of the Bankruptcy Rules, and the Local Rules are satisfied

by such notice.

       5.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       6.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




   Dated: May 14th, 2024                               KAREN B. OWENS
   Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE

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